Case 22-13314-JNP        Doc 13     Filed 05/11/22 Entered 05/11/22 11:01:27          Desc Main
                                    Document     Page 1 of 5




 UNITED STATES BANKRUPTCY COURT
 FOR THE DISTRICT OF NEW JERSEY
 Caption in compliance with D.N.J. LBR 9004-1(b)

 HILL WALLACK LLP
 Angela C. Pattison, Esq.
 21 Roszel Road
 P.O. Box 5226
 Princeton, NJ 08543
 Phone: 609-924-0808
 Email: apattison@hillwallack.com
 Attorneys for NewRez LLC d/b/a Shellpoint Mortgage
 Servicing

 In Re:                                                     Chapter: 22-13314-JNP

 Kathleen L. Baylock fka Kathleen L Mason fka               Case No.: 13
 Kathleen L Langston
                        Debtor.                             Judge: Jerrold N. Poslusny Jr.

                                                            Hearing: June 29, 2022



   OBJECTION OF NEWREZ LLC D/B/A SHELLPOINT MORTGAGE SERVICING
       TO THE CONFIRMATION OF THE DEBTORS’ CHAPTER 13 PLAN

          NewRez LLC d/b/a Shellpoint Mortgage Servicing (“Shellpoint”) hereby objects to the

confirmation of the Debtor’s Chapter 13 Plan for the following reasons:

          1.    Shellpoint is a secured creditor of the debtor, Kathleen L. Baylock (the “Debtor”)

with respect to real property commonly known as 1446 S. 9th Street Camden, NJ 08104 (the

“Property”).

          2.    The Debtor is in default under the subject Note and Mortgage by having failed to

make the payment due on April 01, 2014.

                                                   1
Case 22-13314-JNP        Doc 13     Filed 05/11/22 Entered 05/11/22 11:01:27            Desc Main
                                    Document     Page 2 of 5




       3.      As of April 25, 2022, the date that the instant bankruptcy was filed, the arrearage

amount was approximately $77,993.47, which will be more particularly set forth in a Proof of

Claim that will be filed prior to the claim deadline. This amount represents monthly payments,

pre-petition late charges, advances for taxes/insurance, foreclosure costs and attorney’s fees

incurred with respect to the default.

       4.      The Debtor’s plan fails to provide for the repayment of the secured claim due to the

objecting creditor and/or surrender of the subject real property in violation of 11 U.S.C.

§1325(a)(5).

       4.      The Debtor’s plan as proposed appears to contemplate that there will be no cure for

the pre-petition arrears of Shellpoint unless or until a Loan Modification is achieved. The

requirements of 11 U.S.C § 1322(d) do not allow for payment over a period longer than 5 years.

Moreover, the debtor(s) are obligated to cure the arrears due to the objecting creditor within a

reasonable time pursuant to 11 U.S.C § 1322(b)(5). Accordingly, in the event that the ongoing loss

mitigation efforts are not successful, the plan fails to satisfy the confirmation requirements of 11

U.S.C § 1325(a)(1). The Debtor is unable to otherwise propose a feasible Plan.

       5.      The Debtor should not be permitted to further delay Shellpoint from proceeding

with its rights and remedies, especially in light of the fact that the Debtor is eight (8) years in

default, and the arrears owed to Shellpoint as of the Petition Date total nearly $80,000.00.

       6.      As a result of the foregoing, the Debtor’s Chapter 13 Plan is not confirmable as the

Plan fails to provide for the full claim of Shellpoint, the proposed loan modification is entirely


                                                 2
Case 22-13314-JNP          Doc 13   Filed 05/11/22 Entered 05/11/22 11:01:27         Desc Main
                                    Document     Page 3 of 5




speculative at best, and a Chapter 13 Plan is not otherwise feasible. See, 11 U.S.C. §1325(a)(3).

As such, Shellpoint objects to the confirmation of the Debtor’s Chapter 13 Plan for lack of

feasibility and fairness to impacted creditors.

       For the foregoing reasons, Shellpoint respectfully suggests that the confirmation of

Debtor’s proposed plan should be denied and that the Debtor’s case should be considered for

conversion or dismissal.

                                                      Respectfully submitted,
                                                      HILL WALLACK LLP
                                                      Attorneys for NewRez LLC d/b/a Shellpoint
                                                      Mortgage Servicing

                                                      By:/s/Angela C. Pattison
                                                      Angela C. Pattison
Dated: May 10, 2022




                                                  3
Case 22-13314-JNP        Doc 13     Filed 05/11/22 Entered 05/11/22 11:01:27                Desc Main
                                    Document     Page 4 of 5




  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY
  Caption in compliance with D.N.J. LBR 9004-1(b)

  HILL WALLACK LLP
  Angela C. Pattison, Esq.
  21 Roszel Road
  P.O. Box 5226
  Princeton, NJ 08543
  Phone: 609-924-0808
  Email: apattison@hillwallack.com
  Attorneys for NewRez LLC d/b/a Shellpoint Mortgage
  Servicing

  In Re:                                                   Chapter: 22-13314

  Kathleen L. Baylock fka Kathleen L Mason fka             Case No.: 13
  Kathleen L Langston
                     Debtor(s).                            Judge: Jerrold N. Poslusny Jr.

                                                           Hearing: June 29, 2022

                               CERTIFICATION OF SERVICE
   1. I, Sean K Bolduc:

        represent the __________________________ in the above-captioned matter.
        am the secretary/paralegal for Hill Wallack LLP, who represents the Creditor in the
        above captioned matter.
        am the _________________ in the above case and am representing myself.
   2. On May 10, 2022, I sent a copy of the following pleadings and/or documents to the
      parties listed in the chart below: Objection to Confirmation of Plan

       I hereby certify under penalty of perjury that the above documents were sent using the
mode of service indicated.
                                                         /s/ Sean K Bolduc
Dated: May 10, 2022                                     Sean K Bolduc


                                                    4
Case 22-13314-JNP               Doc 13       Filed 05/11/22 Entered 05/11/22 11:01:27                           Desc Main
                                             Document     Page 5 of 5




    Name and Address of Party Served                Relationship of Party                     Mode of Service
                                                         to the Case

  Kathleen L. Baylock                             Debtor                         Hand-delivered
  1446 S. 9th Street                                                             Regular mail
  Camden, NJ 08104                                                               Certified mail/RR
                                                                                 E-mail
                                                                                 Notice of Electronic Filing (NEF)
                                                                                 Other ______________
                                                                                 (as authorized by the court *)

  Mark W Ford                                     Debtor’s Counsel               Hand-delivered
  Law Office of Mark W. Ford, LLC                                                Regular mail
  P.O. Box 110                                                                   Certified mail/RR
  4 1/2 North Broadway                                                           E-mail
  Gloucester City, NJ 08030                                                      Notice of Electronic Filing (NEF)
                                                                                 Other ______________
                                                                                 (as authorized by the court *)

  Isabel C. Balboa                                Trustee                        Hand-delivered
  Chapter 13 Standing Trustee                                                    Regular mail
  Cherry Tree Corporate Center                                                   Certified mail/RR
  535 Route 38 - Suite 580                                                       E-mail
  Cherry Hill, NJ 08002                                                          Notice of Electronic Filing (NEF)
                                                                                 Other ______________
                                                                                 (as authorized by the court *)

*May account for service by fax or other means as authorized by the court through the issuance of an Order Shortening Time.




                                                              5
